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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 25, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : GRAND JURY ORIGINAL
RICARDO GLASS, : VIOLATIONS:
: 18 U.S.C. § 922(0) and § 924(a)(2)
Defendant. : (Illegal Possession of a Machinegun)
: 26 U.S.C. § 5861(d)

(Possession of an Unregistered Firearm)
22 D.C. Code § 4504(a) (2001 ed.)
(Carrying a Pistol Without a License
(Outside Home or Place of Business))
FORFEITURE: 18 U.S.C. § 924(d),
21 U.S.C. § 853(p), and 28.U.S.C. § 2461(c)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about June 20, 2021, within the District of Columbia, RICARDO GLASS, did
knowingly and unlawfully possess a device, that is an auto sear switch, designed and intended
solely and exclusively for use in converting a weapon into a machinegun, to wit: a Glock Model

31, .357 caliber pistol, serial number BRUK487.

(Illegal Possession of a Machinegun, in violation of Title 18, United States Code, Section
922(0) and 924(a)(2))
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COUNT TWO
On or about June 20, 2021, within the District of Columbia, RICARDO GLASS,
knowingly received and possessed a firearm, that is, a Glock Model 31, .357 caliber pistol, serial
number BRUK487, that had been converted into a machinegun by virtue of an auto sear switch,
which had not been registered to him in the National Firearms Registration and Transfer Record
as required by Chapter 53, Title 26 of the United States Code.

(Possession of an Unregistered Firearm, in violation of Title 26, United.States Code,
Section 5861(d))

COUNT THREE
On or about June 20, 2021, within the District of Columbia, RICARDO GLASS, did carry,
openly and concealed on or about his person, a pistol, in a place other than his dwelling place,
place of business or on other land possessed by him, a pistol, without a license issued pursuant to
law.

(Carrying a Pistol Without a License (Outside Home or Place of Business), in violation
22 D.C. Code, Section 4504(a) (2001 ed.))

FORFEITURE ALLEGATION

1. Upon conviction of the offense alleged in Count One or Count Two this Indictment,
the defendant shall forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d) and Title 28, United States Code, Section 2461(c), any firearm and ammunition involved
in or used in the knowing commission of the offense, including but not limited to a Glock Model
31, .357 caliber pistol, serial number BRUK487, and .357 caliber ammunition.

2. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;
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(b) __ has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property that cannot be subdivided without

difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 28, United States Code, Section 2461(c).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,

United States Code, Section 853(p), and Title 28, United States Code, Section 2461(c))

A TRUE BILL:

. oo. FOREPERSON.
Chenwumy D. Pilapa |
Attorney of the United States in - ban
and for the District of Columbia.
